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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-cr-00222 (TFH)
                                              :
GEORGE PIERRE TANIOS,                         :
                                              :
and                                           :
                                              :
JULIAN ELIE KHATER,                           :
                                              :
                       Defendants.            :


                        PARTIES’ JOINT NOTICE TO THE COURT
                          REGARDING DETENTION HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, Joseph Tacopina, Esquire, and Chad Seigel, Esquire, counsel for

defendant Julian Khater, and Elizabeth Gross, Esquire, and Linn Richard Walker, Esquire, counsel

for defendant George Tanios, hereby submit this joint notice to the Court in response to the Court’s

minute order dated April 21, 2021, which directed the parties to indicate the number and identities

of any witnesses who will testify at the detention hearing scheduled for April 27, 2021, and the

evidence that the parties will rely upon, including video footage.

       The government intends to proceed by proffer and will not call witnesses during the

hearing. The government has provided a series of video exhibits to the Court and the parties, and

will refer to these exhibits in its written memorandum and during the hearing. To facilitate the

presentation of this evidence, the government is requesting to appear in person for Tuesday’s

hearing. Counsel for the defendants do not object to the government appearing in person.
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        Defendant Khater is prepared to call up to 16 witnesses to testify virtually, if deemed

necessary at the hearing. Their testimony would mirror the content of their letters to the Court,

which were attached to Defendant Khater’s submission. The list of witnesses includes:

   1. Eleanor Fox (Mr. Khater’s mother)
   2. Elie Khater (Mr. Khater’s father)
   3. Michael Khater (Mr. Khater’s brother)
   4. Christopher Khater (Mr. Khater’s brother)
   5. John Khater (Mr. Khater’s brother)
   6. Alissa Latner (Mr. Khater’s friend)
   7. Jennifer Bozovic (Mr. Khater’s cousin)
   8. Josephine Khater (Mr. Khater’s cousin)
   9. Joanna Khater (Mr. Khater’s cousin)
   10. Amine Khater (Mr. Khater’s cousin)
   11. Geeta Khater (Mr. Khater’s sister-in-law)
   12. Pierre Khater (Mr. Khater’s uncle)
   13. Leila Farrelly (Mr. Khater’s aunt)
   14. Wadad Khater (Mr. Khater’s aunt)
   15. Irina Khater (Mr. Khater’s aunt)
   16. Anne Fox (Mr. Khater’s aunt)


   Defendant Tanios may call the following five additional witnesses to testify virtually:

   1.   Sean Ruth (friend)
   2.   Zyad Hage (cousin)
   3.   Joe Hage (cousin)
   4.   Tyler Lowers (friend)
   5.   Jamil Maroun (godfather to son)
   6.   Ramon Miguel (friend)


                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY
                                                   D.C. Bar No. 415793

                                              By: /s/ Gilead Light
                                                  Gilead Light
                                                  D.C. Bar Number 980839
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  555 Fourth Street, N.W.
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                                 By: /s/
                                 Chad Seigel, Esquire
                                 Attorney for Julian Khater

                                 By: /s/
                                 Elizabeth Gross, Esquire
                                 Attorney for George Tanios
